 Fill in this information to identify the case:

  Debtor 1       Howard Wayne Finch

  Debtor 2

 United States Bankruptcy Court for the: Middle District of Tennessee

 Case number :    3:17-bk-03699



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                      12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of                THE BANK OF NEW YORK MELLON f/k/a THE BANK OF Court claim no.                                                 6-1
creditor:              NEW YORK, as successor in interest to JPMorgan (if known):
                       Chase Bank, N.A., f/k/a Bank One, National Association
                       as Trustee for Centex Home Equity Loan Trust 2002-A
Last 4 digits of any number
you use to identify the debtor's                                        4406
account:
Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
       [X]    No
       [ ]    Yes. Date of the last notice.


Part 1:      Itemize Postpetition Fees, Expenses, and Charges


Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

     Description                                                               Dates incurred                     Amount
  1. Late charges                                                                                            (1) $
  2. Non-sufficient funds (NSF) fees                                                                         (2) $
  3. Attorney fees                                                             10/03/2017                     (3) $ 500.00
  4. Filing fees and court costs                                                                             (4) $
  5. Bankruptcy/Proof of claim fees                                            10/11/2017, 10/12/2017         (5) $ 600.00
  6. Appraisal/Broker's price opinion fees                                                                   (6) $
  7. Property inspection fees                                                                                (7) $
  8. Tax advances (non-escrow)                                                                               (8) $
  9. Insurance advances (non-escrow)                                                                         (9) $
 10. Property preservation expenses. Specify:                                                               (10) $
 11. Other. Specify :                                                                                       (11) $
 12. Other. Specify:                                                                                        (12) $
 13. Other. Specify:                                                                                        (13) $
 14. Other. Specify:                                                                                        (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 Howard Wayne Finch                                                    Case number (if known)              3:17-bk-03699
                First Name              Middle Name          Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ]      I am the creditor.

[X]      I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/ Seth Greenhill                                                                  Date
                                                                                                01/09/2018
    Signature



Print:                       Seth Greenhill                                  Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                  Email           bkcrm@padgettlaw.net




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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties on

the attached Service List by electronic service and/or by First Class U.S. Mail on this the 9th day of

January, 2018.



                                                     /S/ Seth Greenhill

                                                     ___________________________________
                                                     SETH GREENHILL
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     bkcrm@padgettlaw.net
                                                     Authorized Agent for Creditor




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                              SERVICE LIST (CASE NO. 3:17-bk-03699)



Debtor
HOWARD WAYNE FINCH
6516 Longview Drive
Murfreesboro, TN 37129

Debtors Attorney
GALEN WILSON PIERCE
The Law Office of Galen W. Pierce
307 Hickerson Drive
Murfreesboro, TN 37129


Trustee
HENRY EDWARD HILDEBRAND, III
OFFICE OF THE CHAPTER 13 TRUSTEE
PO BOX 340019
NASHVILLE, TN 37203-0019


U.S. Trustee
US TRUSTEE
OFFICE OF THE UNITED STATES TRUSTEE
701 BROADWAY STE 318
NASHVILLE, TN 37203-3966




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